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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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                                                                  U.S. Bankruptcy Court
                                                                  District of New Jersey
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     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                          Chapter 11
     LTL MANAGEMENT LLC, 1                           Case No.: 23-12825 (MBK)

                         Debtor.                     Judge: Michael B. Kaplan


                      ORDER SHORTENING TIME PERIOD FOR
                  NOTICE, SETTING HEARING AND LIMITING NOTICE

                 The relief set forth on the following pages is hereby ORDERED.




DATED: April 21, 2023
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 Debtor: LTL Management LLC
 Case No. 23-12825-MBK
 Caption: Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice

                  After review of the application of LTL Management LLC, the above-captioned

 debtor (the “Debtor”), for a reduction of time for a hearing on the Debtor’s Motion for an Order

 (I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing Disclosure

 Objection Deadline; and (III) Granting Related Relief (the “Motion”) under Fed. R. Bankr. P.

 9006(c)(1), it is

                  ORDERED as follows:

                  1.                                                    May 16, 2023
                         A hearing will be conducted on the matter on ______________________

                                                     402 East State Street, Trenton, NJ 08608
     11:30 am in the United States Bankruptcy Court, ______________________________,
 at __________

                 8
 Courtroom No. _____.

                  2.     The Applicant must serve a copy of this Order, and all related documents,

 on the following parties: (a) the Office of the United States Trustee for the District of New

 Jersey; (b) proposed counsel to the Committee; (c) counsel to the Debtor’s non-debtor affiliates,

 Johnson & Johnson Holdco (NA) Inc. and Johnson & Johnson; (d) the proposed legal

 representative for future talc claimants and her counsel; and (e) all parties in interest having filed

 notices of appearance in this Chapter 11 Case.

                  by տ each, տ
                             x any of the following methods selected by the Court:

                         x overnight mail, տ regular mail, տ
                  տ fax, տ                                 x email, տ hand delivery.

                  3.     The Applicant must also serve a copy of this Order, and all related

 documents, on the following parties:

 ______________________________________________________________________________

                  by տ each, տ any of the following methods selected by the Court:

                  տ fax, տ overnight mail, տ regular mail, տ email, տ hand delivery.
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 Caption: Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice

                  4.      Service must be made:

                  x on the same day as the date of this order, or
                  տ

                  տ within _____ day(s) of the date of this Order.

                  5.      Notice by telephone:

                  x is not required
                  տ

                  տ must be provided to

                  ________________________________________________________

                  տ on the same day as the date of this Order, or

                  տ within _____ day(s) of the date of this Order.

                  6.      A Certification of Service must be filed prior to the hearing date.

                  7.      Any objections to the motion/application identified above:

                  տ must be filed with the Court and served on all parties in interest by electronic

                  or overnight mail __________ day(s) prior to the scheduled hearing; or

                  x may be presented orally at the hearing.
                  տ

                  8.      տ Court appearances are required to prosecute said motion/application

                  and any objections.

                          x Parties may request to appear by phone by contacting Chambers prior
                          տ

                  to the return date.




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